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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

    MARK HALE, TODD SHADLE, and               )
    LAURIE LOGER, on behalf of themselves and )
    all others similarly situated,            )
                                              )
                        Plaintiffs,           )
                                              )             Case No. 12-cv-00660 DRH-SCW
            v.                                )
                                              )
    STATE FARM MUTUAL AUTOMOBILE              )
    INSURANCE COMPANY, EDWARD                 )
    MURNANE, and WILLIAM G. SHEPHERD, )
                                              )
                        Defendants.           )

          PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE OF COURT ORDER
        DENYING OBJECTOR LISA MARLOW’S MOTION TO QUASH SUBPOENA

          Plaintiffs ask this Court to take judicial notice that the United States District Court for the

   Middle District of Florida has entered an order denying objector Lisa Marlow’s motion to quash

   (“Motion to Quash”) Plaintiffs’ subpoena for her deposition on December 5, 2018, at 9:30 a.m.

   in Orlando, Florida (“Subpoena”).

          The background is detailed in Plaintiff’s Motion for an Order to Show Cause against

   Marlow [964], which is incorporated by reference. Marlow’s counsel, Mark J. Downton, filed the

   Motion to Quash in the Middle District of Florida on December 4, 2018. Early this morning,

   December 5, 2018, Magistrate Judge Karla R. Spaulding of the Middle District of Florida,

   entered an order, sua sponte, denying the Motion to Quash. The docket reads:

                  ENDORSED ORDER denying Motion to Quash a Subpoena. If disputes
          arise during the deposition about whether questions exceed the scope of
          discovery, this Court defers those issues for resolution in the Court in which the
          case is pending. Signed by Magistrate Judge Karla R. Spaulding on 12/5/2018.
          (Spaulding, Karla) (Entered: 12/05/2018)

   A true copy of the Middle District of Florida’s docket is attached hereto.
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           Though the Motion to Quash was denied, neither Marlow nor her counsel appeared for

   Marlow’s deposition in Orlando, Florida at 9:30 a.m. this morning, as the Subpoena required.

   Class counsel, Kristofer S. Riddle, traveled from Chicago to Orlando yesterday so he could

   depose Marlow today. He was prepared to take her deposition this morning, and a court reporter

   was present. Defendants’ counsel appeared telephonically. When Marlow and her counsel did

   not appear, Mr. Riddle made a record of their absence and returned to Chicago.

           Judge Spaulding’s order is directly related to Marlow’s refusal to appear at her

   deposition. Court decisions to be judicially noticed include “‘proceedings in other courts, both

   within and outside the federal judicial system, if the proceedings have a direct relation to the

   matters at issue.’” Opoka v. Immigration and Naturalization Svc., 94 F.3d 392, 395 (7th Cir.

   1996) (quoting Philips Med. Sys. Int’l v. Bruetman, 982 F.2d 211, 215 n.2 (7th Cir. 1992)).

   “Indeed, it is a well-settled principle that the decision of another court . . . is a proper subject of

   judicial notice.” Id. Accordingly, Plaintiffs request that this Court take judicial notice of Judge

   Spaulding’s December 5, 2018 order denying Marlow’s Motion to Quash.

    Dated: December 5, 2018                                /s/ Robert A. Clifford
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                                 CERTIFICATE OF SERVICE

         Pursuant to Local Rule 7.1(b), I certify that a copy of the foregoing was served upon

   counsel on via the Court’s CM/ECF system on December 5, 2018.

                                                      /s/ Robert A. Clifford




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